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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    LAWRENCE ROBINSON,                )       No. CV-F-02-5418 OWW
                                       )       (No. CR-F-97-5129 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                   Petitioner,       )       ORDER DENYING PETITIONER'S
                                       )       MOTION FOR POST-CONVICTION
12             vs.                     )       DISCOVERY AND RENEWED MOTION
                                       )       FOR POST-CONVICTION
13                                     )       DISCOVERY (Docs. 334 & 365),
     UNITED STATES OF AMERICA,         )       DENYING PETITIONER'S MOTION
14                                     )       TO VACATE, SET ASIDE OR
                                       )       CORRECT SENTENCE PURSUANT TO
15                   Respondent.       )       28 U.S.C. § 2255 (Doc. 326),
                                       )       AND DIRECTING CLERK OF COURT
16                                     )       TO ENTER JUDGMENT FOR
                                               RESPONDENT
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20
          On August 8, 2002, Petitioner Lawrence Robinson timely filed
21
     a motion to vacate, set aside or correct sentence pursuant to 28
22
     U.S.C. § 2255 (Doc. 326).1     Petitioner contends that he suffered
23

24
          1
           By Order filed on September 6, 2006, Petitioner’s motion was
25   dismissed as untimely (Doc. 351). However, by Order filed on June
     12, 2007, Petitioner’s motion to vacate the September 6, 2006 Order
26   was granted (Doc. 362).

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1    (1) prosecutorial misconduct because the Government solicited

2    false and misleading testimony before the Grand Jury resulting in

3    the Indictment and (2) ineffective assistance of counsel during

4    pre-trial, trial and appellate proceedings because defense

5    counsel failed to “take appropriate steps necessary in objecting

6    and filing suppression motions to preserve Petitioner’s

7    constitutional right to challenge federal jurisdiction under the

8    Hobbs Act.”2   The United States has filed an opposition to

9    Petitioner’s motion (Doc. 328).

10        A.   Background.

11        Petitioner was charged by indictment with various crimes

12   stemming from two robberies.      In connection with the first

13   robbery of a residence on November 21, 1996, Petitioner was

14   charged with theft of a firearm and aiding and abetting (Count 3,

15   18 U.S.C. §§ 2 and 924(1) and (2); and carrying a firearm during

16   a crime of violence (Count 4, 18 U.S.C. § 924(c)(1)).           In

17   connection with the second robbery of an electronics store,

18   Videotronics, on May 1, 1996, Petitioner was charged with

19   interference with commerce by robbery and aiding and abetting

20   (Count 5, 18 U.S.C. §§ 2 and 1951(a)); carrying a firearm during

21   a crime of violence (Count 6, 18 U.S.C. § 924(c)(1); and death

22   caused by use of a firearm during a crime of violence and aiding

23
          2
           Petitioner was represented by Victor Chavez until June 18,
24   1997. Petitioner was represented by Robert Rainwater and Hilary
     Chittick until May 30, 1999. Petitioner was represented on appeal
25   by Robert Rainwater.      Petitioner was represented by Robert
     Rainwater following the Ninth Circuit’s reversal and remand for
26   resentencing and on the subsequent appeal from resentencing.

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1    and abetting (Count 7, 18 U.S.C. §§ 2 and 924(j)(1).

2         A jury convicted Petitioner on all but one of the charges.

3    For his role in the residential robbery, Petitioner was convicted

4    on the theft of a firearm charge, but acquitted on the charge of

5    carrying a firearm during a crime of violence.         Petitioner was

6    convicted on all counts related to the robbery of the electronics

7    store, Videotronics.

8         Petitioner was sentenced to life imprisonment plus a term of

9    420 months.   Petitioner timely appealed his conviction and

10   sentence.   The Ninth Circuit reversed Petitioner’s convictions of

11   the counts relating to the residential robbery on the ground of

12   insufficient evidence, vacated Petitioner’s sentence, and

13   remanded to the District Court for resentencing.          On remand,

14   Petitioner’s sentence was reduced to life imprisonment plus a

15   term of 300 months.    Petitioner’s sentence was affirmed by the

16   Ninth Circuit.

17        C.   Grounds for Relief.

18        Petitioner’s claims of prosecutorial misconduct and

19   ineffective assistance of counsel are based on his contention

20   that, because of evidence that Videotronics’ business license had

21   expired on March 31, 1996, the business could not have been

22   operating in interstate commerce.       Petitioner’s motion attaches

23   as Exhibit A a letter dated March 26, 2001 to Petitioner from

24   Investigator Eldon Lollar:

25               Per your request, I checked with City Hall
                 for the business of ‘Videotronics’.
26               Videotronics was located at 930 Fresno

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1              Street., it’s business license number is
               121205. It opened November 15, 1994 and
2              closed March 31, 1996. Malcolm D. Rosemond
               was the sole owner. City Hall closed
3              Videotronics on March 31, 1996, because Mr.
               Rosemond had not paid to keep his business
4              license.

5    Also attached to Petitioner’s motion as Exhibit D is a copy of a

6    memorandum dated July 16, 1997 from investigator Michael McDaniel

7    to Robert Rainwater, Hilary Chittick, Marc Ament and Eldon

8    Lollar, which states:

9              On July 10, 1997, I received a request to
               obtain a copy of a business license under the
10             name of Malcolm Rosemond. [O]n July 14, 1997,
               a copy of the license was obtained from City
11             Hall and it is attached to this report.

12   Because Videotronics did not have a City of Fresno business

13   license at the time of the robbery, Petitioner argues,

14   Videotronics could not have been a business operating in

15   interstate commerce at the time of the robbery.          Relying of

16   Exhibits A attached to his motion, Petitioner contends that,

17   because Videotronics had closed on March 31, 1996, Videotronics

18   could not have sold any merchandise after March 12, 1996.

19        Petitioner cites no case authority in support of his

20   contention and independent research reveals none.

21        That Videotronics may have been conducting business

22   unlawfully because of the absence of the business license does

23   not negate liability under the Hobbs Act.

24        In United States v. Hanigan, 681 F.2d 1127 (9th Cir.1982),

25   cert. denied, 459 U.S. 1203 (1983), the defendant was convicted

26   of violating the Hobbs Act when he robbed and tortured illegal

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1    aliens.   In pertinent part the Ninth Circuit ruled:

2                 Hanigan’s second attack on jurisdiction is
                  that the victims were not protected by the
3                 Hobbs Act because they had entered the United
                  States illegally. He urges that the term
4                 ‘commerce’ as used in the statute does not
                  include commerce that Congress has made
5                 illegal.

6                 Hanigan points to nothing in the statute or
                  legislative history, however, that would
7                 support his argument that ‘commerce’ must be
                  ‘legal’ commerce. The statute by its terms
8                 does not limit ‘commerce’ to the flow of
                  legally condoned articles. Nor could the
9                 commerce clause itself mean that an activity
                  to be regulated by Congress must be legally
10                permissible. It is anomalous to maintain
                  that Congress could make undocumented entry
11                into the United States - the movement of
                  persons - unlawful, while at the same time
12                maintaining that the same movement of persons
                  is not ‘commerce over which the United States
13                has jurisdiction’ - the phrase which Congress
                  used in the Hobbs Act. 18 U.S.C. §
14                1951(b)(3). Accordingly, we hold that the
                  movement of undocumented alien laborers
15                across a national boundary into this country
                  is within the constitutional power of
16                Congress to regulate, and thus constitutes
                  commerce within the reach of the Hobbs Act.
17
     Id. at 1130-1131.
18
          In United States v. Ambrose, 740 F.2d 505 (7th Cir.1984),
19
     cert. denied, 472 U.S. 1017 (1985), the Seventh Circuit, relying
20
     on Hanigan, ruled that policemen who extorted sums for protection
21
     of illegal narcotics activity were properly convicted under the
22
     Hobbs Act:
23
                  ... The defendants argue that the interstate
24                commerce affected must be legal. Some legal
                  interstate commerce was affected by the
25                defendants’ extorting money from the drug
                  dealers whom they protected - commerce in
26                quinine and other substances that are mixed

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1           with heroin and cocaine in preparing them for
            sale to the consumer. It is immaterial that
2           the amount of commerce affected was small,
            either absolutely or relatively; $68 a month
3           was held large enough in United States v.
            Boulahanis, 677 F.2d 586, 589-90 (7th
4           Cir.1982), and the amount here was a lot
            more. The difference between this case and
5           Boulahanis, however, is that here the lawful
            commerce was incidental to an unlawful
6           activity, the sale of illegal narcotics; and
            it can be argued that anything that obstructs
7           that commerce discourages the unlawful
            activity and is therefore a good thing.
8           Moreover, most of the commerce affected by
            the defendants’ extortionate activity was
9           itself illegal commerce, in narcotics; and
            again it can be argued that to burden an
10          illegal interstate business is to promote the
            ultimate objectives of the Hobbs Act. Yet
11          United States v. Hanigan ... held that the
            Hobbs Act does not require that the
12          interstate commerce affected by a defendant’s
            extortionate activity be legal.
13
            We think this holding is correct, at least in
14          a case such as the present where the sums
            extorted are for protecting an illegal
15          activity. Although the drug dealers paid the
            defendants substantial sums that, considered
16          in isolation, increased the dealers’ costs of
            doing business, the dealers got in return
17          something invaluable to them - police
            protection that enabled them to conduct their
18          businesses on a far larger and presumably
            more profitable scale than would have been
19          possible if they had lacked such assistance.
            The benefits to the illegal activity exceeded
20          the costs, so that on balance the activity
            was promoted rather than retarded. The issue
21          is therefore whether the Hobbs Act can
            reasonably be read to punish extortion that
22          promotes illegal commerce as well as
            extortion that retards legal commerce.
23          Although discouraging the latter type of
            extortion has been said to be the dominant
24          purpose of the Act, see, e.g., Stirone v.
            United States, 361 U.S. 212, 215 ... (1960);
25          United States v. Mattson, 671 F.2d 1020, 1023
            (7th Cir.1982), discouraging the former is a
26          complementary objective and one well within

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1              the Act’s language. Moreover, it would be
               unrealistic to suppose that all Congress
2              cared about in passing the Hobbs Act was
               promoting trade among the states; common
3              sense, with a little support in legislative
               history, suggests that interstate commerce
4              was not merely the object of Congress’s
               solicitude but also a handle for enabling
5              federal power to be brought to bear on
               criminal activities that, because of their
6              multistate incidence, the states had
               difficulty controlling ... The extortion in
7              this case is within the scope of intended
               prohibition.
8
     Id. at 511-512.    Accord United States v. Jones, 30 F.3d 276, 285-
9
     286 (2nd Cir.), cert. denied, 513 U.S. 1028 (1994).
10
          These cases establish that the legality or illegality of the
11
     business is not relevant or material for purposes of the
12
     interstate commerce element of the Hobbs Act.         Consequently, the
13
     absence of a valid City of Fresno business license for
14
     Videotronics at the time of the robbery does not negate this
15
     Court’s jurisdiction.     The alleged failure of the prosecutor to
16
     present evidence to the Grand Jury or at trial that Videotronics’
17
     business license had expired is not prosecutorial misconduct.
18
     The failure of defense counsel to file pre-trial motions or argue
19
     at trial or on appeal that the absence of the City of Fresno
20
     business license negated the interstate commerce element of the
21
     Hobbs Act cannot be ineffective assistance of counsel.           Such
22
     motions clearly would have been without legal merit.           Failure to
23
     make a meritless argument does not constitute ineffective
24
     assistance of counsel.     Boag v. Raines, 769 F.2d 1341, 1344 (9th
25
     Cir.1985), cert. denied, 474 U.S. 1085 (1986).
26

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1         Petitioner’s claim that Videotronics sold no merchandise

2    after March 12, 1996 is unsupported by evidence.          The statement

3    in Exhibit A that “City Hall closed Videotronics on March 31,

4    1996, because Mr. Rosemond had not paid to keep his business

5    license” is inadmissible hearsay.       Further, this statement is

6    contradicted by the evidence related to the Grand Jury by FBI

7    Agent Kominek that he interviewed Robert Peel, an employee of

8    Videotronics on May 1, 1996 and that Mr. Peele stated that

9    Videotronics bought parts to repair televisions from a wholesaler

10   on the East Coast and sold televisions manufactured in Japan.

11   Detective Stokes testified to the grand jury that he observed a

12   big screen television manufactured by Hitachi for sale at

13   Videotronics.   At trial, Robert Peel testified that he was

14   employed as a technician at Videotronics, that Videotronics sold

15   TV’s and VCR’s made outside of California, and that Videotronics

16   folded after Malcolm Rosemond was murdered.         Malcolm Rosemond’s

17   brother, Keith Butler, testified at trial that he assembled the

18   business records of Videotronics and closed the business after

19   Rosemond’s murder.    Mr. Butler identified a collection of orders,

20   invoices and business records from Videotronics that showed the

21   type of interstate commerce Videotronics was engaged in until its

22   closure in May, 1996.

23        Subsequent to the filing of the Section 2255 motion,

24   Petitioner filed a motion for post-conviction discovery pursuant

25   to Rule 6, Rules Governing Section 2255 Proceedings for the

26   United States District Courts.      Rule 6(a) provides in pertinent

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1    part:

2               A judge may, for good cause, authorize a
                party to conduct discovery under the Federal
3               Rules of Criminal Procedure or Civil
                Procedure, or in accordance with the
4               practices and principles of law.

5    “To show ‘good cause,’ a movant must present specific allegations

6    which give reason to believe that the movant may, if the facts

7    are fully developed, be able to demonstrate that he is entitled

8    to relief.”     United States v. Atkin, 80 F.Supp.2d 779, 787

9    (N.D.Ohio 2000); see also United States v. Bontkowski, 262

10   F.Supp.2d 915, 920 (N.D.Ill.2003).

11        Attached to Petitioner’s motion is a copy of an Information

12   filed in the Fresno County Superior Court against Malcolm

13   Rosemond, charging him with selling and furnishing cocaine base

14   on August 30, 1995 in violation of California Health and Safety

15   Code § 11352.    Also attached to Petitioner’s motion is a copy of

16   a state search warrant for Videotronics issued on August 25,

17   1995.   The affidavit in support of the state search warrant avers

18   that a confidential informant purchased $50.00 worth of rock

19   cocaine from David Hill in a “tire shop warehouse” located in the

20   same building as Videotronics, the office area of which appeared

21   to the CI to be common to both the tire shop warehouse and

22   Videotronics.    The Affidavit to the state search warrant further

23   avers in pertinent part:

24              I am also aware that persons purchasing drugs
                may exchange resalable video and audio
25              equipment for drugs. It has come to my
                attention that a second hand resale business
26              permit has been issued by the City of Fresno

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1               for the business located at 930 Fresno St.
                [Videotronics]. This is functionally the
2               same permit need to conduct a ‘pawn broker’
                business from this location. Given the
3               nature of the Videotronics business, the
                presence of electronic equipment in the
4               garage area and the issuance of the resale
                license by the City of Fresno, I request that
5               the search be included to encompass all
                video, audio and other electronic items
6               located at the business to determine whether
                the items are stolen and/or in the rightful
7               possession of the business, and to seize any
                of the above mentioned items that can
8               reasonably be determined to be involved in
                illegal drug transactions or are not in
9               compliance with the legal conditions or
                restriction concerning the resale license.
10
          Petitioner contends that Videotronics “was basically a crack
11
     house and not a business, but a front.”         Petitioner requests that
12
     the Court grant post-conviction discovery “and compel the
13
     government to release all documents pertaining to the arrest of
14
     Malcolm Rosemond and execution of the Search Warrant at 930
15
     Fresno St. (Videotronics).”      Petitioner further requests:
16
                Upon obtainment of these documents, it is
17              respectfully requested that the court grant
                leave to supplement the record in
18              relationship to the issues presented, or any
                other matters that may be deemed relevant to
19              these proceedings as a result or reviewing
                these documents. It is further requested
20              that the court stay any further proceedings
                pending ruling on this post-conviction
21              discovery motion and review of said
                documents.
22
     In his re-newed motion for post-conviction discovery filed on
23
     October 12, 2007, Petitioner contends:
24
                [He] submits that he should be allowed Post-
25              Conviction Discovery ... where it was his
                contention at trial [sic] and on habeas that
26              the Videotronics store was not a place of

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1               business, but a crack house, that the items
                seized in the execution of the warrant would
2               prove that Videotronics was not operating in
                interstate commerce. The seized purchasing
3               and ordering receipts will show that the
                closure of videotronics [sic] did not affect
4               interstate commerce because the store did not
                actually sell or repair electronic equipment
5               because the Videotronics was a crack house.
                Moreover, the notes from the taped phone
6               conversations between the officers and the
                alleged employees will show that all the
7               calls were for crack, not television parts or
                repairs. The taped conversations would also
8               prove that the government’s witnesses, Robert
                and Calvin Peele testified falsely that the
9               [sic] were technicians who worked at the
                store selling electronic equipment or
10              repairing TV’s, because the tapes would show
                that the [sic] were crack dealers who perhaps
11              had made sales of controlled sales of drugs
                to people at the 930 address.
12
          Petitioner’s motion for post-conviction discovery is DENIED.
13
     For the reasons discussed above, that Videotronics may have been
14
     conducting an illegal business as well as a legal business does
15
     not negate the interstate commerce element of the Hobbs Act.
16
     Furthermore, the state search warrant concerned an alleged
17
     narcotics transaction almost a year prior to the robbery and
18
     murder of which Petitioner stands convicted.
19
                                  CONCLUSION
20
          For the reasons stated above:
21
          1.   Petitioner’s motion to vacate, set aside or correct
22
     sentence pursuant to 28 U.S.C. § 2255 is DENIED;
23
          2.   Petitioner’s motion and re-newed motion for post-
24
     conviction discovery is DENIED;
25
          3.   The Clerk of the Court is directed to enter judgment for
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1    Respondent.

2          IT IS SO ORDERED.

3    Dated:   October 22, 2007              /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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